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AO 93 (Rev. 1/13) Search and Seizure Warrant



                                           UNITED STATES DISTRICT COURT
                                                                        for the
                                                              DistrictDistrict
                                                         __________    of NewofMexico
                                                                                __________

                  In the Matter of the Search of                        )
              (Briefly describe the property to be searched             )
               or identify the person by name and address)              )     Case No.   05
                    2509 Viola Dr. SE, Albuquerque,                     )
                               NM 87105                                 )
                                                                        )

                                                 SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the                                   District of          New Mexico
(identify the person or describe the property to be searched and give its location):
      See Attachment A




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
      See Attachment B




        YOU ARE COMMANDED to execute this warrant on or before                September 3, 2021        (not to exceed 14 days)
       in the daytime 6:00 a.m. to 10:00 p.m. u at any time in the day or night because good cause has been established.
      u

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                          Laura Fashing                      .
                                                                                             (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                   .

(OHFWURQLFDOO\VLJQHGDQGWHOHSKRQLFDOO\VZRUQ
Date and time issued:             08/20/2021 3:15 pm
                                                                                                     Judge’s signature

City and state:              Albuquerque, NM                                             Laura Fashing, U.S. Magistrate Judge
                                                                                                   Printed name and title
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The search will include any vehicle parked in the driveway or directly in front of the
PREMISES which is associated with Epifanio ESPINOSA or any other resident of the
PREMISES, or which is associated with any co-conspirator.
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